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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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MINHYE PARK, Index No.: 1:20-cv-02636
Plaintiff,
-against-
DAVID DENNIS KIM, M.D.,
Defendant.
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RULE 37 CERTIFICATION

I hereby certify that on July 7, 2021, I conferred with Jae S. Lee, counsel for MINHYE
PARK, via telephone regarding outstanding discovery. During that conversation, Ms. Lee
indicated that she would not be producing any additional discovery, including medical records or
documentation supporting her client’s claims for damages as required by Rule 26 of the Federal
Rules of Civil Procedure. Despite the extensive outstanding discovery, Ms. Lee’s position was
that her client satisfied her discovery obligations. After conferring about the subject of this motion,
the parties were unable to agree on a resolution. I subsequently moved this Court by letter motion
dated July 16, 2021 for permission to file a Motion to Compel for the outstanding discovery. See
Case 1:20-cv-02636-PKC-LB, ECF No. 15, Filed 07/16/2021. The Court granted permission for
this Motion on July 22, 2021. See Case 1:20-cv-02636-PKC-LB, Scheduling Order, Filed
07/22/2021.

Defendant’s motion to compel discovery is necessary and has been made in good faith.

Respectfully Submitted,

Jury Tf —

Hayley NeWman 5509(HN)

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